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                                                                                      APR 10 2007




                   I N THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF CALIFORNIA



U N I T E D STATES OF AMERICA,                    )
                                                  1
                 Plaintiffs,                      )          NO.    CR-04-5356-AWI

         vs.                                      )           ORDER E X O N E R A T I N G BOND
                                                  )
JASWANT SINGH,                                    1
                          Defendant.



         The c a s e a g a i n s t t h e above-named d e f e n d a n t h a v i n g b e e n

concluded, and i f r e q u i r e d t h e defendant h a s s u r r e n d e r e d a s

o r d e r e d by t h e c o u r t , t h e f o l l o w i n g i s o r d e r e d :

( X ) The d e f e n d a n t ' s p a s s p o r t i s o r d e r e d r e t u r n e d :

(   )   The p r o p e r t y bond p o s t e d i s e x o n e r a t e d a n d r e c o n v e y e d :

(   )   The c a s h bond p o s t e d i s e x o n e r a t e d a n d t h e money r e t u r n e d t o

         the surety.



          DATED :      j - /U-07

                                                      HONY W . I S H I I
                                                   U.S. D i s t r i c t J u d g e
